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13                               UNITED STATES DISTRICT COURT
14
                              NORTHERN DISTRICT OF CALIFORNIA
15
                                     SAN FRANCISCO DIVISION
16

17   IN RE: FACEBOOK, INC. CONSUMER                   MDL NO. 2843
     PRIVACY USER PROFILE LITIGATION                  Case No. 18-md-02843-VC
18
                                                      Hon. Vince Chhabria
19
                                                      KLEIN PLAINTIFFS’ STATEMENT OF
20                                                    OBJECTION TO RELEASE IN
21                                                    FACEBOOK, INC. CONSUMER PRIVACY
                                                      USER PROFILE LITIGATION
22                                                    SETTLEMENT AGREEMENT

23

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     This Document Relates To: All Actions
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                                                                    Case No. 18-MD-02843-VC
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                                    KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1           Objectors Maximilian Klein, Sarah Grabert, and Rachel Banks Kupcho (“the Klein

 2   Plaintiff Objectors”) hereby object to final approval of the Class Action Settlement Agreement

 3   and Release (“the Settlement”) pending further clarification regarding the scope of the

 4   Settlement’s release.

 5                                        I.      INTRODUCTION
 6           The Klein Plaintiff Objectors are the proposed class representatives for the putative

 7   Consumer Class in the antitrust case captioned Klein v. Meta Platforms, Inc., Case No. 3:20-cv-

 8   08570, currently pending in the Northern District of California before Judge James Donato. The

 9   Klein Plaintiff Objectors understand that the Settlement’s release does not and cannot release the

10   claims of the Klein Consumer Class and that Settlement Counsel does not contend otherwise. In

11   an abundance of caution, however, the Klein Plaintiff Objectors object to the Settlement as

12   currently constructed to the extent that there is any assertion that the Settlement’s release

13   language is so broad that it may constitute an “as implied” release of the distinct claims—based

14   on a different set of facts and legal theories—which are currently being litigated before Judge

15   Donato as part of the Klein litigation. To the extent such an assertion is raised, the Settlement

16   risks providing a benefit to common defendant Meta Platforms, Inc. (“Facebook”) for which it

17   did not bargain and to which it is not entitled, to the detriment of both Settlement Class members

18   in this action and proposed class members in the Klein litigation.

19           The Klein Plaintiff Objectors do not wish to unreasonably delay the ultimate approval of

20   the Settlement and relief to Settlement Class members. Instead, the Klein Plaintiff Objectors seek

21   only to protect their and others’ due process rights through limited relief: adding a single sentence

22   to the Settlement clarifying that it does not waive or otherwise limit the valuable, still-pending

23   claims in Klein. This sentence could read: “This Release shall not bar or otherwise limit claims

24   asserted in the case captioned Klein v. Meta Platforms, Inc., Case No. 3:20-cv-08570 (N.D.

25   Cal.).” This type of carve out is standard in class action settlements. Prior to filing this objection,

26   the Klein Plaintiff Objectors’ counsel conferred with Settlement Counsel, whose position is the

27   impact of the release in this case on the claims in the Klein case should be determined in the Klein

28   litigation.
                                                 -1–                   Case No. 18-MD-02843-VC
                             KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1                    II.     BACKGROUND REGARDING KLEIN LITIGATION

 2           On December 3, 2020, two of the Klein Plaintiff Objectors—Maximilian Klein and Sarah

 3   Grabert—filed the first of the individual antitrust cases against Facebook in the Northern District

 4   of California that would be consolidated as the Klein litigation, originally before the Hon. Lucy

 5   H. Koh. Additional plaintiffs (including Klein Plaintiff Objector Rachel Banks Kupcho) also filed

 6   their own antitrust lawsuits in the Northern District of California. Judge Koh then consolidated

 7   the various actions under a single case name (“Klein”), Case No. 3:20-cv-08570, an active docket.

 8   On January 26, 2022 the Klein action was reassigned to Judge Donato.1 With the exception of

 9   several depositions, fact discovery is currently closed, and the parties are in the midst of class

10   certification, expert reports, and briefing.

11           Broadly speaking, the consolidated Klein action consists of two sets of actions with

12   separate complaints, putative classes, and court-appointed lead counsel. One group of actions

13   asserts claims against Facebook on behalf of a class of “advertisers,” who are individuals and

14   entities that are purchasers of Facebook’s advertising services. The other group of actions asserts

15   claims against Facebook on behalf of a class of “consumers,” who are users of Facebook’s

16   eponymous social networking app.2 The Klein Plaintiff Objectors are the proposed representatives

17   of the Consumer Class, and their undersigned counsel are the court-appointed interim counsel for

18   that Class.

19           Klein Consumer Class Definition. The proposed Klein Consumer Class is defined as: all

20   persons in the United States who maintained and used a Facebook profile at any point from

21   January 1, 2016 to December 3, 2020.3

22           Klein Consumer Allegations. The Klein Plaintiff Objectors—on behalf of the Klein

23   Consumer Class—assert federal antitrust claims against Facebook for monopolization and

24   attempted monopolization of the Personal Social Network Market in violation of Section 2 of the

25
         1
26         Klein v. Meta Platforms, Inc., Case No. 3:20-cv-08570-JD (N.D. Cal.), Dkt. 218.
         2
           See, e.g., Klein v. Meta Platforms, Inc., Case No. 3:20-cv-08570-JD (N.D. Cal.), Dkt. 87
27   (Consolidated Consumer Class Action Complaint).
         3
           The class definition has been amended from the pleadings in the recent expert reports served
28   on July 7, 2023.
                                                     -2–                   Case No. 18-MD-02843-VC
                            KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   Sherman Act. The Klein Plaintiff Objectors allege that, over time, Facebook has obtained and

 2   maintained monopoly power by deceiving the market regarding its data collection and use

 3   practices. In other words, from 2007 onwards (the conduct period), Facebook repeatedly touted

 4   its supposed privacy-friendly data collection and use practices, allowing it to gain and maintain

 5   market share, but that later revelations have consistently demonstrated Facebook’s representations

 6   to be false or misleading.

 7            Facebook’s ongoing deception allowed it to anticompetitively harm competition and

 8   thwart rivals such as MySpace, Google+, Snapchat, and MeWe. Facebook’s destruction of

 9   competition in the Personal Social Network Market allowed Facebook—free from competitive

10   pressures—to artificially suppress the compensation that Facebook users receive for the data that

11   Facebook obtains from them. Some of the instances of Facebook’s deception—that the Klein

12   Plaintiff Objectors challenge as anticompetitive—are Facebook’s representations and omissions

13   regarding Facebook’s: “Beacon” feature; Facebook’s sharing of data with advertisers; Facebook’s

14   use of “social plug-ins” (e.g., “the Like Button” on third-party websites) and cookies; Facebook’s

15   use of phone numbers ostensibly obtained for two-factor authentication security purposes;

16   compliance with multiple consent decrees with the Federal Trade Commission, and access to and

17   provision of data with other third parties, such as the data of Facebook users’ friends and the

18   sharing of Facebook users’ data with device manufacturers, “whitelisted” third parties, and

19   “Preferred” business and integration partners (which are issues in this MDL).

20            Procedural Status. Fact discovery in Klein closed on June 23, 2023. The Klein Consumer

21   Plaintiffs served their class certification expert disclosures on July 7, 2023. Expert disclosures and

22   briefing are ongoing. A class certification hearing is scheduled for December 14, 2023.4

23     III.     RELEVANT PROVISION OF THE CONSUMER PRIVACY USER PROFILE
                                      SETTLEMENT
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25            Consumer Privacy User Profile Settlement Class. On December 22, 2022—more than

26   two years after Klein had been pending—Consumer Privacy User Profile Settlement Class

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        4
         See Klein v. Meta Platforms, Inc., Case No. 3:20-cv-08570-JD, Dkt. 379 (Amended
28   Scheduling Order).
                                                 -3–                   Case No. 18-MD-02843-VC
                        KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   Counsel moved to certify a Settlement Class consisting of: “all Facebook users in the United

 2   States during the Class Period,” which runs from May 24, 2007 through December 22, 2022,

 3   inclusive. Dkt. 1145 at 3; see also Dkt. 1096 at 14–15.

 4          Scope of Release in Consumer Privacy User Profile Settlement. The Settlement defines

 5   “Released Claims” as:

 6                  any and all claims, demands, rights, damages, arbitrations,
                    liabilities, obligations, suits, debts, liens, and causes of action
 7                  pursuant to any theory of recovery (including, but not limited to,
                    those based in contract or tort, common law or equity, federal, state,
 8                  or local law, statute, ordinance, regulation, decree, or order) of
                    every nature and description whatsoever, ascertained or
 9                  unascertained, suspected or unsuspected, existing or claimed to
                    exist, including known or unknown claims as of the Notice Date by
10                  all of the Releasing Parties that were asserted or could have been
                    asserted based on, relating to, or arising out of the identical factual
11                  predicate as the allegations in the Action, including but not limited
                    to sharing or otherwise making accessible user data and data about
12                  users’ friends with/to third parties (including but not limited to
                    third-party developers, whitelisted parties, business partners,
13                  advertisers, and data brokers), and monitoring and enforcement of
                    third parties’ access to and use and/or sharing of user data with
14                  other third parties.
15   Dkt. 1096-2 at 15, § 73 (emphases added).

16                                     IV.      LEGAL STANDARD
17          Federal Rule of Civil Procedure 23(e) “requires the district court to determine whether a

18   proposed settlement is fundamentally fair, reasonable, and accurate.”5 In so doing, “[t]he focus

19   must be on protecting the rights of absent class members” because “[t]heir rights are the rights to

20   be extinguished by a class settlement.”6

21          In reviewing a class action settlement agreement’s fairness, the Court may withhold

22   preliminary approval of the settlement based on an overbroad release contained in the settlement.7

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24      5
           Staton v. Boeing, 327 F.3d 938, 959 (9th Cir. 2003) (quoting Hanlon v. Chrysler Corp., 150
25   F.3d 1011, 1026 (9th Cir. 1998)).
         6
           Fraser v. Asus Computer Int’l, Case No. 3:12-cv-00652-WHA, 2012 WL 6680142, at *3
26   (N.D. Cal. Dec. 21, 2012).
         7
27         See Lovig v. Sears, Roebuck & Co., Case No. 5:11-cv-00756-CJC, 2014 WL 8252583, at *2
     (C.D. Cal. Dec. 9, 2014) (denying preliminary approval of a settlement on these grounds); Willner
     v. Manpower Inc., Case No. 3:11-cv-02846-JST, 2014 WL 4370694, at *7 (N.D. Cal. Sept. 3,
28   2014) (same).
                                                   -4–                    Case No. 18-MD-02843-VC
                           KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   The same is also true for final approval of a class action settlement.8 In making this

 2   determination, “a release of claims that go beyond the scope of the allegations of the operative

 3   complaint is impermissible.”9 An overly broad release of claims may be cured, however, by

 4   “narrow[ing] the scope of release . . . .”10

 5                                           V.     ARGUMENT
 6            The Klein Consumer Plaintiffs do not believe the Consumer Privacy User Profile release

 7   applies to their case against Facebook. Out of an abundance of caution, the Klein Consumer

 8   Plaintiffs have filed this objection to safeguard the rights and claims of the Klein Consumer Class.

 9   A.       The Settlement cannot release the Klein Plaintiff Objectors’ claims.
10            A settlement agreement may only release claims that are “based on the identical factual

11   predicate as that underlying the claims in the settled class action.”11 Importantly, “[s]uperficial

12   similarity between the two class actions is insufficient to justify the release of the later claims by

13   the settlement of the former.”12 Thus, the “identical factual predicate” test is not met—and other

14   claims are not barred—where “none of” the “causes of action” asserted in one case “are

15   substantively the same as those asserted in” the settled class action.13

16            Here, the Settlement purports to release “any and all claims . . . pursuant to any theory of

17   recovery . . . of every nature and description whatsoever, . . . based on, relating to, or arising out

18   of the identical factual predicate as the allegations in the Action, including but not limited to

19   sharing or otherwise making accessible user data and data about users’ friends with/to third

20   parties . . . and monitoring and enforcement of third parties’ access to and use and/or sharing of

21        8
           See, e.g., Marshall v. Northrop Grumman Corp., Case No. 2:16-cv-06794-AB, 2020 WL
22   5668963, at *2 (C.D. Cal. Sept. 18, 2020); Hendricks v. StarKist Co., Case No. 4:13-cv-00729-
     HSG, 2016 WL 692739, at *2 (N.D. Cal. Feb. 19, 2016).
23       9
           Lovig, 2014 WL 8252583, at *2 (internal citation and quotation marks omitted).
         10
            Id.; Willner, 2014 WL 4370694, at *7.
24       11
            Hesse v. Sprint Corp., 598 F.3d 581, 590 (9th Cir. 2010) (quoting Williams v. Boeing Co.,
25   517 F.3d 1120, 1133 (9th Cir. 2008)); see also 6 NEWBERG ON CLASS ACTIONS § 18:19 (5th ed.)
     (“For [class action] settlement judgments, courts . . . giv[e] preclusive effect to releases contained
26   in settlements so long as the released conduct arises out of the ‘identical factual predicate’ as the
     claims at issue in the case.”).
         12
27          Hendricks, 2016 WL 692739, at *2.
         13
            Raquedan v. Volume Servs., Inc., Case No. 5:18-cv-01139-LHK, 2018 WL 3753505, at *7
28   (N.D. Cal. Aug. 8, 2018).
                                                   -5–                        Case No. 18-MD-02843-VC
                            KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   user data with other third parties.” Dkt. 1096-2 at 15, § 73 (emphasis added). To the extent that

 2   the Settlement purports to release “any and all claims” “pursuant to any theory of recovery”

 3   regarding “user data and data about users’ friends with/to third parties,” the release is

 4   overbroad.14

 5           The Settlement’s release appears to incorporate the “identical factual predicate” test,

 6   including with respect to allegations related to “sharing or otherwise making accessible user data

 7   and data about users’ friends with/to third parties (including but not limited to third-party

 8   developers, whitelisted parties, business partners, advertisers, and data brokers), and monitoring

 9   and enforcement of third parties’ access to and use and/or sharing of user data with other parties.”

10   Even to the extent there is some superficial overlap between those allegations and some of the

11   factual allegations in Klein, this language does not and cannot release the Klein Plaintiff

12   Objectors’ (or the Klein Consumer Class’s) distinct antitrust claims under the identical factual

13   predicate test. The claims at issue in this MDL are: (1) contract-based claims; (2) statutory claims

14   under the Video Privacy Protection Act and Stored Communications Act; (3) negligence; (4)

15   deceit-by-concealment; (5) various privacy-based torts including public disclosure of private

16   facts, intrusion upon seclusion, and violation of the right of privacy under the California

17   Constitution; and (6) “deprioritized” claims arising under various non-California consumer

18   protection or privacy statutes, common-law rights of privacy, fraudulent and negligent

19   misrepresentation, conversion, the Fair Credit Reporting Act, and the Racketeer Influenced and

20   Corrupt Organizations Act. Dkt. 1096 at 21–32.

21           The underlying predicates that the Klein Consumer Class’s antitrust claims vastly differ

22   from those of the claims at issue here (none of which are antitrust claims). The antitrust claims at

23   issue in Klein are pursuant to section 2 of the Sherman Act. These claims require the existence of

24   a relevant market, Facebook’s obtaining/maintaining monopoly power within that market through

25   anticompetitive means, measuring Facebook’s monopoly power (either through direct evidence,

26   or circumstantially through high market share and entry barriers), harm to competition, and

27      14
            See Gonzalez v. CoreCivic of Tennessee, LLC, No. 1:16-cv-01891-DAD-JLT, 2018 WL
     4388425, at *11 (E.D. Cal. Sept. 13, 2018) (finding overbroad a provision that released “any and
28   all claims” “that could have been asserted based on the facts ascertained . . . in the Actions.”).
                                                   -6–                      Case No. 18-MD-02843-VC
                           KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   impact and damages to the Klein Consumer Class members as a result of Facebook’s destruction

 2   of competition. In contrast, the Consumer Privacy User Profile plaintiffs do not pursue any

 3   antitrust claims and thus need not and did not establish these and other elements of the Klein

 4   Plaintiff Objectors’ antitrust claims.15

 5           The injuries at issue in the Consumer Privacy User Profile and Klein litigations are also

 6   fundamentally different. The Consumer Privacy User Profile plaintiffs pursued statutory

 7   damages, nominal damages, damages related to invasion of their privacy, negligence, and

 8   disgorgement. Dkts. 148, 257. By contrast, the Klein Plaintiff Objectors do not, for example, seek

 9   to recover for psychological harms (such as emotional harms based on “invasion of their

10   privacy”). The Klein Plaintiff Objectors’ damages are based on the diminished compensation that

11   they received for their data because of Facebook’s destruction of competition—i.e., the

12   compensation (in the form of better services or monetary consideration) they would have received

13   from Facebook or its would-be competitors had the Personal Social Network Market not been

14   distorted by Facebook’s anticompetitive acts.16

15           Moreover, while the Klein Plaintiff Objectors’ antitrust claims involve Facebook’s data

16   collection and use practices, that does not mean that any privacy settlement involving Facebook

17   can and does extinguish or otherwise limit the Klein Plaintiff Objectors’ claims.17 The Klein

18   claims are not “privacy” claims—Facebook’s deception about its data collection and use practices

19   is simply the vehicle by which the Klein plaintiffs allege that Facebook obtained and maintained

20   its monopoly (i.e., the Klein plaintiffs’ theory of anticompetitive/exclusionary conduct). See Klein

21   v. Facebook, Inc., 580 F. Supp. 3d 743, 786–802 (N.D. Cal. 2022) (Judge Koh’s motion to

22   dismiss order describing deception as viable theory of anticompetitive conduct). That one of the

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        15
            See Dennis v. JPMorgan Chase & Co., Case No. 1:16-cv-6496-LAK, 2021 WL 1893988, at
24   *5 (S.D.N.Y. May 11, 2021) (noting that under “identical factual predicate” test, “[c]laims that
     rely ‘upon proof of further facts,’ . . . cannot be released.”).
25       16
            McKinney-Drobnis v. Massage Envy Franchising, LLC, Case No. 3:16-cv-06450-MMC,
     2017 WL 1246933, at *5 (N.D. Cal. Apr. 5, 2017) (“identical factual predicate” test not met
26   where cases presented “different injuries.”).
         17
27          See In re Lehman Bros. Sec. & Erisa Litig., Case No. 1:08-cv-05523-LAK, 2012 WL
     2478483, at *7 (S.D.N.Y. June 29, 2012) (rejecting assertion “that the claims involve losses from
     the same securities against the same defendants is enough to meet the ‘identical factual predicate’
28   test.”).
                                                      -7–                  Case No. 18-MD-02843-VC
                           KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   many instances of Facebook’s deception the Klein Plaintiff Objectors challenge as

 2   anticompetitive—relating to Facebook’s disclosure of user data to third parties—is also at issue in

 3   the Consumer Privacy User Profile litigation and the Settlement does not alter the analysis.18

 4           Finally, none of the Consumer Privacy User Profile parties have raised the existence of

 5   the Klein case with this Court in connection with the Settlement. For example, Northern District

 6   Local Rule 3-12(b) provides that “[w]henever a party knows or learns that an action, filed in or

 7   removed to this district is (or the party believes that the action may be) related . . . the party must

 8   promptly file . . . an Administrative Motion to Consider Whether Cases Should be Related[.]”

 9   Civil L.R. 3-12(b) (emphasis added). Yet, no party ever filed an administrative motion suggesting

10   that Klein was “related” to the Consumer Privacy User Profile litigation. To the contrary,

11   Facebook has repeatedly taken the position that the Consumer Privacy User Profile litigation is

12   irrelevant to Klein. See, e.g., Klein v. Meta Platforms, Inc., Case No. 3:20-cv-08570-JD (N.D.

13   Cal), Dkt. 319 at 9 (Facebook discovery brief in Klein contending that App Developer

14   Investigation documents are irrelevant and asserting that in the “Cambridge MDL . . . the

15   Cambridge Analytica events animate the privacy-based claims” but “[t]his is an antitrust case”).

16   Similarly, in seeking preliminary approval of the Settlement, Consumer Privacy User Profile

17   Settlement Class Counsel indicated “[o]ther than the cases that are part of this MDL, Plaintiffs’

18   position is that no other cases will be affected by the Settlement.” Dkt. 1096 at 18.

19           Moreover, the Northern District’s “Procedural Guidance for Class Action Settlements”

20   section on “Overlapping Cases” provides that “[w]ithin one day of filing of the preliminary

21   approval motion, the defendants should serve a copy on counsel for any plaintiffs with pending

22   litigation, . . . asserting claims on a representative . . . basis that defendants believe may be

23   released by virtue of the settlement.”19 Facebook did not do so. These are telling indicia that the

24

25
        18
            In re Currency Conversion Fee Antitrust Litig., 264 F.R.D. 100, 119 (S.D.N.Y. 2010)
26   (rejecting assertion that “any allusion to American Express’s foreign currency conversion
     practices in the Complaint—even though these claims bear no transactional relationship to
27   American Express’s currency conversion charges—is sufficient to invoke the LiPuma Release.”).
         19
            See Procedural Guidance for Class Action Settlements, § 13, available at: https://www.cand
28   .uscourts.gov/forms/procedural-guidance-for-class-action-settlements/ (emphasis added).
                                                   -8–                     Case No. 18-MD-02843-VC
                            KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   Klein and Consumer Privacy User Profile litigations do not arise from an “identical factual

 2   predicate.”

 3   B.        Regardless, the Settlement provides insufficient notice and consideration for any
               release of the Klein claims.
 4

 5             The present Settlement cannot and does not release the Klein Consumer Class members’

 6   claims because those antitrust claims do not arise from “the identical factual predicate” that forms

 7   the basis for the Consumer Privacy User Profile claims. Even were Facebook to now claim

 8   otherwise, that assertion must fail for at least two reasons.

 9             First, neither the Settlement nor any of its attendant documents refers at all to the Klein

10   litigation or the antitrust claims presented therein. Therefore, it does not follow that the

11   Settlement somehow releases or otherwise limits claims in the Klein litigation—claims that are

12   being actively litigated before Judge Donato—and which may very well yield a substantial

13   recovery for the Klein Consumer Class (some of whom may also be Settlement Class members).20

14   Indeed, the Advisory Committee’s notes on the 2018 Amendment to Rule 23(e)(1) provide that

15   “the parties should provide information about the existence of other pending or anticipated

16   litigation on behalf of class members involving claims that would be released under the

17   proposal.”21 Tellingly, the Consumer Privacy User Profile parties did not do so, and in the event

18   that Facebook now reverses course, the Court should reject any belated assertion that the

19   Settlement somehow releases or otherwise limits the Klein Consumer Class members’ claims in

20   the Klein litigation.22

21             Second, the Settlement does not provide consideration in return for any supposed release

22   of the Klein claims. The Settlement allots $725 million to the Settlement Class (minus Service,

23   Expense, and Attorney Fee Awards). Dkt. 1096-2 at 10, §§ 49, 62. However, the Settlement

24   indicates the Settlement Fund is “for the benefit of the Settlement Class.” Dkt. 1096-2 at 8, ¶ 49.

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           Cf. 3 NEWBERG AND RUBENSTEIN ON CLASS ACTIONS § 8:17 (6th ed.) (“To safeguard class
26   members’ opportunity to object, notice must be sufficiently clear and informative to make those
     opportunities meaningful.”).
        21
27         Fed. R. Civ. P. 23(e)(1) advisory committee’s notes to 2018 amendment.
        22
           See 4 NEWBERG AND RUBENSTEIN ON CLASS ACTIONS § 13:60 (6th ed.) (“[C]ourts are wary
28   when they are not informed of pending related cases during the settlement approval process.”).
                                                 -9–                       Case No. 18-MD-02843-VC
                          KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   Thus, the Settlement Fund necessarily reflects payment for the claims at issue in the Consumer

 2   Privacy User Profile case and those claims only; it therefore does not and cannot constitute

 3   consideration for release of the different claims—based on distinct injuries and additional

 4   Facebook misconduct—presented in the Klein litigation.23

 5   C.         A single sentence should be added to safeguard due process rights.
 6              As stated above, the Klein Plaintiff Objectors maintain that the Settlement cannot and

 7   does not release or otherwise limit their distinct antitrust claims in the Klein litigation, even to the

 8   extent those claims in some manner may superficially overlap with some of the data practices at

 9   issue in the Consumer Privacy User Profile litigation. Nonetheless, the Court can avoid any such

10   confusion—and prevent any future attempt by Facebook to use the Settlement to undermine the

11   still-pending, valuable claims in the Klein litigation—by requiring the addition of a single

12   sentence to the Settlement, such as to Section VI, i.e., the “Releases” provision. Dkt. 1096-2 at

13   14. A proposed sentence would be: “This Release shall not bar or otherwise limit claims asserted

14   in the case captioned Klein v. Meta Platforms, Inc., Case No. 3:20-cv-08570 (N.D. Cal.).” Such

15   “carve outs” are common in class action settlements where legally distinct, parallel actions

16   exist.24

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            See Hendricks, 2016 WL 692739, at *4 (determining that class action settlement’s release
     did not bar separate antitrust claims against same defendant where “[t]here has been no showing
22   that class members ‘have been independently compensated for the broad release of claims related
     to antitrust conspiracies.’”); McKeen-Chaplin v. Franklin Am. Mortg. Co., Case No. 4:10-cv-
23   05243-SBA, 2012 WL 6629608, at *5 (N.D. Cal. Dec. 19, 2012) (separate claims not released
     because “[t]here has been no showing that Plaintiffs have been independently compensated for
24   the broad release of claims unrelated to any dispute regarding FLSA coverage or wages due,
     including, among others, claims for discrimination under Title VII, intentional infliction of
     emotional distress, and ‘outrageous conduct.’”).
25       24
            E.g., Superseding & Am. Definitive Class Settlement Agmt, https://www.paymentcard
26   settlement.com/Content/Documents/New%20Docs/Dkt%20No.%207257-2_Settlement%20
     Agreement.pdf at 34, In re Payment Card Interchange Fee and Merchant Discount Antitrust
27   Litig., Case No. 1:05-md-01720-MKB (E.D.N.Y. Sept. 18, 2018), Dkt. 7257-2 (class action
     settlement agreement providing that “Notwithstanding anything to the contrary in Paragraphs 29-
     33 above, the release . . . above shall not release . . . [a]ny claims asserted in B&R Supermarket,
28   Inc., et al. v. Visa, Inc., et al., No 17-cv-02738 (E.D.N.Y.), . . .”).
                                                      - 10 –                    Case No. 18-MD-02843-VC
                             KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   D.     Attendance at Final Approval Hearing

 2          Pursuant to § 113 of the Settlement, the Klein Plaintiff Objectors hereby provide notice

 3   that their counsel intends to appear at the final approval hearing currently set for September 7,

 4   2023. Dkt. 1096-2 at 24.

 5                                         VI.     CONCLUSION

 6          Given that any case must be based on an “identical factual predicate,” that Facebook has

 7   failed to identify the Klein action as a related action and given the different factual and legal

 8   claims at issue in this case, the release here does not and cannot release any pending claims in the

 9   Klein matter. If there is any question, however, it should be resolved in favor of inserting one

10   sentence in the Settlement’s release to carve out the existing Klein litigation.

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                                              - 11 –                 Case No. 18-MD-02843-VC
                           KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1   DATED: July 26, 2023

 2   HAGENS BERMAN SOBOL SHAPIRO LLP               QUINN EMANUEL URQUHART & SULLIVAN, LLP
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                                           - 12 –                 Case No. 18-MD-02843-VC
                        KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
 1                             ATTESTATION OF SHANA E. SCARLETT

 2          This document is being filed through the Electronic Case Filing (ECF) system by attorney

 3   Shana E. Scarlett. By her signature, Ms. Scarlett attests that she has obtained concurrence in the

 4   filing of this document from each of the attorneys identified on the caption page and in the above

 5   signature block.

 6   Dated: July 26, 2023                          /s/ Shana E. Scarlett
                                                       Shana E. Scarlett
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10                                    CERTIFICATE OF SERVICE

11          I hereby certify that on this 26th day of July, 2023, the foregoing document was served on

12   all attorneys of record by electronic mail.

13   Dated: July 26, 2023                          /s/ Shana E. Scarlett
                                                       Shana E. Scarlett
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                                               - 13 –                 Case No. 18-MD-02843-VC
                            KLEIN CONSUMER PLAINTIFFS’ OBJECTIONS TO RELEASE
